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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO
                     Alfred A. Arraj United States Courthouse Annex
                                  901 19th Street, A1041
                                 Denver, Colorado 80294
                                      (303) 335-2350

 ROBERT E. BLACKBURN
 United States District Judge

                                    MEMORANDUM

 TO:          Jeffrey P. Colwell, Clerk


 FROM:        Judge Robert E. Blackburn


 DATE:        February 28, 2022


 RE:          Civil Action No. 22-cv-486
              Gonzales v. Fremont Paving & Redi-Mix, Inc.


        Exercising my prerogative as a Senior Judge, I request that this civil action be
 reassigned.
